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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

AMY MILLS,                                   )
                                             )
               Plaintiff                     )       Cause No.: 1:16-cv-00209
                                             )
vs.                                          )
                                             )
YRC, INC. d/b/a YRC FREIGHT,                 )
                                             )
               Defendant                     )

                               COMPLAINT FOR DAMAGES
                              AND REQUEST FOR JURY TRIAL

       Plaintiff, Amy Mills, by counsel and as her Complaint for Damages against Defendant,

states as follows:

                                PARTIES, JURISDICTION AND VENUE

       1. Plaintiff, Amy Mills, is a resident of Marion County in the State of Indiana and a

former employee of Defendant.

       2. Defendant, YRC, Inc. d/b/a YRC Freight (hereinafter referred to as "YRC"), is an

employer as defined by 42 U.S.C. §12101 et. seq. and 29 U.S.C. § 2612 et. seq. and conducts

business in the State of Indiana.

       3. Ms. Mills invokes this Court’s federal question jurisdiction pursuant to 28 U.S.C. §§

1331 and 1343(a).

       4. Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

                             GENERAL FACTS & SPECIFIC ALLEGATIONS

       5. Plaintiff began her employment with Defendant on or about June 10, 2014.

       6. Plaintiff is an amputee with a prosthetic leg.
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       7. On or around June 2015, Plaintiff parked her car in a handicapped parking spot due to

pain caused by walking across the parking lot.

       8. The Defendant told the Plaintiff she had to move her vehicle, despite the fact that

Plaintiff had a handicapped license plate.

       9. When Plaintiff went to move her vehicle, she found that it had been damaged.

       10. Defendant employees then began to move the handicap parking sign from spot to

spot to prevent Plaintiff from using it.

       11. Plaintiff complained to management about the harassment she was experienced and

afterwards, her hours were cut and she was passed over for a permanent position.

       12. Plaintiff filed a charge of discrimination with the Equal Opportunity Commission

wherein she alleged discrimination under the American’s with Disabilities Act of 1990 42 U.S.C.

§ 12101 (ADA) charge number 470-2015-02609).

       13. The Equal Employment Opportunity Commission issued Plaintiff a Right-to-Sue

letter on November 24, 2015.

                                             COUNT I

       14. Plaintiff incorporates by reference paragraphs one through thirteen (13) of her

complaint for damages.

       15. Plaintiff suffers from a disability as defined by the Americans with Disabilities Act,

specifically she is an amputee with a prosthetic leg.

       16. The Defendant was aware Plaintiff’s disability and/or perceived disability and

refused to provide reasonable accommodation when Plaintiff requested use of the handicapped

parking space.
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        17. Plaintiff was able to perform the essential functions of her job, with or without

reasonable accommodation.

        18. The Defendant was motivated by Plaintiff’s disability and/or perceived disability

when it cut her hours and failed to promote her to a permanent position.

        19. Non-disabled employees outside Plaintiff’s protected class were treated more

favorably than Plaintiff.

        20. As a result of Defendant violating Plaintiff’s rights as protected under the Americans

with Disabilities Act, Plaintiff sustained damages including, but not limited to, lost pay and

benefits, mental and emotional anguish, attorney fees and costs.

        WHEREFORE, Plaintiff prays for judgment against Defendant, for an award of lost

wages and benefits, compensatory damages, attorney fees and costs incurred herein, and for all

other appropriate relief.

                                             COUNT II

        21. Plaintiff incorporates by reference paragraphs one through twenty (20) above.

        22. Plaintiff complained to Defendant that she was being discriminated against based on

her disability.

        23. After Plaintiff complained of discrimination, Defendant retaliated against Plaintiff by

cutting her hours and refusing to promote her to full-time employment.

        24. As a result, Plaintiff has sustained damages including, but not limited to, lost pay and

benefits, attorney fees and costs.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendant, for an award of back pay,

liquidated damages, reasonable attorney fees, costs and all other appropriate relief.
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                                             Respectfully submitted,

                                             HENN HAWORTH CUMMINGS

                                             /s/ Paul J. Cummings
                                             David M. Henn, #18002-49
                                             Paul J. Cummings, #22713-41


                                   REQUEST FOR JURY TRIAL

      Plaintiff, by counsel, respectfully requests this cause be tried by jury.


                                             Respectfully submitted,

                                             HENN HAWORTH CUMMINGS

                                             /s/ Paul J. Cummings
                                             David M. Henn, #18002-49
                                             Paul J. Cummings, #22713-41

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